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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   West Palm Beach Division


    EQUAL EMPLOYMENT OPPORTUNITY
    COMMISSION,

                          Plaintiff,
    vs.                                              Civil Action No. _____________________


    M1 5100 CORP., d/b/a JUMBO
    SUPERMARKET, INC.,

                      Defendant.
    ______________________________________/

          PLAINTIFF EQUAL EMPLOYMENT OPPORTUNITY COMMISSION’S
                   COMPLAINT AND DEMAND FOR JURY TRIAL

    This is an action under the Age Discrimination in Employment Act of 1967, as amended,

    29 U.S.C. § 623(a) (the “ADEA”). The United States Equal Employment Opportunity

    Commission (“EEOC” or “Commission”) alleges that Defendant M1 5100 Corp. doing

    business as Jumbo Supermarket, Inc. (“Jumbo Supermarket” or “Defendant”),

    discriminated against Charging Party Angela Araujo Guerrero (“Ms. Guerrero”) when it

    reduced her pay and fired her because of her age in violation of Section 4(a) of the ADEA,

    29 U.S.C. § 623(a).




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                                 JURISDICTION AND VENUE

    1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

    1343 and 1345. This action is authorized and instituted pursuant to Section 7(b) of the

    ADEA, 29 U.S.C. § 623(a)(1), 29 U.S.C. § 626 (b) and (c), which incorporates by

    reference Sections 16(c) and 17 of the Fair Labor Standards Act of 1938 (the “FLSA”), as

    amended, 29 U.S.C. §§ 216(c) and 217.

    2.     The employment practices alleged to be unlawful were committed within the

    jurisdiction of the United States District Court for the Southern District of Florida, West

    Palm Beach Division.

                                            PARTIES

    3.     The EEOC is an agency of the United States of America charged with the

    administration, interpretation and enforcement of the ADEA, and is expressly authorized to

    bring this action by Section 7(b) of the ADEA, 29 U.S.C. § 626(b), as amended by Section

    2 of the Reorganization Plan No. 1 of 1978, 92 Stat. 3781, and by Public Law 98-532

    (1984), 98 Stat. 2705.

    4.     The Defendant owns and operates grocery store supermarkets located in Palm

    Beach County, Florida.

    5.     At all relevant times, the Defendant has continuously done business in Florida, and

    has continuously had at least twenty employees.

    6.     At all relevant times, the Defendant has continuously been an employer engaged in

    an industry affecting commerce under Sections 11(b), (g), and (h) of the ADEA, 29 U.S.C.




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    §§ 630(b), (g), and (h).

                               ADMINISTRATIVE PROCEEDINGS

    7.     More than thirty days prior to the institution of this lawsuit, Ms. Guerrero filed a

    charge of discrimination with the Commission against Defendant alleging age

    discrimination in violation of the ADEA.

    8.     The Commission sent Defendant notice of Ms. Guerrero’s discrimination charge.

    9.     The Commission issued a Letter of Determination on March 20, 2019 finding

    reasonable cause to believe that Defendant discriminated against Ms. Guerrero because of

    her age.

    10.    The Commission’s representatives attempted to eliminate discriminatory practices

    and to effect voluntary compliance with the ADEA through informal methods of

    conciliation, conference, and persuasion within the meaning of Section 7(b) of the ADEA, 29

    U.S.C. § 626(d).

    11.    The Commission was unable to secure from the Defendant a conciliation agreement

    acceptable to the Commission.

    12.    All conditions precedent to the institution of this lawsuit have been fulfilled.

                                    STATEMENT OF FACTS

    13.    Ms. Guerrero was born in 1959.

    14.    Jumbo Supermarket owns and operates grocery store supermarkets.

    15.    Jumbo Supermarket has two store locations: a larger supermarket located at 5100

    Lake Worth Road, Green Acres, Florida (hereafter referred to as “Jumbo Supermarket #1”)

    and a smaller supermarket located at Woodlake Plaza, 5851 Lake Worth Road, Greenacres,



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    Florida (hereafter referred to as “Jumbo Supermarket #2”).

    16.    On or about June 2016, Ms. Guerrero began working at Jumbo Supermarket #1 as

    Cook Manager before that location opened to the public.

    17.     For the store opening Ms. Guerrero was responsible for hiring employees for the

    cafeteria and cooking departments.

    18.    As Cook Manager, Ms. Guerrero managed the store cafeteria.

    19.    After several months working as Cook Manager, Ms. Guerrero received a pay

    increase.

    20.    When Ms. Guerrero started working at Jumbo Supermarket #1, her direct

    supervisor and general manager of the store was Julio Perez.

    21.    In late 2016, Mr. Perez was transferred to the Jumbo Supermarket #2 to be its

    General Manager. Mr. Perez was replaced by a new General Manager, Felipe Peralta, to

    work at Jumbo Supermarket #1.

    22.    As General Manager, Mr. Peralta became Ms. Guerrero’s direct supervisor.

    23.    Soon after Mr. Peralta became General Manager, when Ms. Guerrero arrived to

    open the store one morning for her regular shift, a new employee was working there

    performing her job.

    24.    Ms. Guerrero’s replacement was more than twenty years younger than Ms.

    Guerrero.

    25.    No one had informed Ms. Guerrero that she was replaced or that another person

    was hired to do her job.

    26.    Mr. Peralta, along with his secretary, met with Ms. Guerrero in his office. Mr.



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    Peralta told Ms. Guerrero something along the lines of, “Old lady, what are you doing

    here?” and asked her to take off her apron.

    27.     Mr. Peralta informed Ms. Guerrero that she was too old already and that it was time

    for her to rest.

    28.     Mr. Peralta told Ms. Guerrero that if she did not want to leave Jumbo Supermarket,

    he could assign Ms. Guerrero to work as the assistant of her replacement, which would

    have resulted in a reduction in pay for Ms. Guerrero.

    29.     Mr. Perez was visiting Jumbo Supermarket #1 on that day and intervened. He

    offered to transfer Ms. Guerrero to the Jumbo Supermarket #2 where he was General

    Manager.

    30.     Ms. Guerrero was then transferred and began working at Jumbo Supermarket #2,

    but with less pay.

    31.     A few months later, Mr. Perez stopped working for Jumbo Supermarkets and Mr.

    Peralta replaced Mr. Perez, becoming the General Manager of Jumbo Supermarket #2

    where Ms. Guerrero worked.

    32.     On March 6, 2017, Mr. Peralta terminated Ms. Guerrero. Mr. Peralta had already hired

    her replacement, an employee over twenty years younger than Ms. Guerrero. Mr. Peralta told

    Ms. Guerrero something along the lines of, “Look old lady, we have to give opportunities to

    new people, old lady what is it that you are looking for here . . . it’s time for you to rest.”

    33.     Mr. Peralta then handed her a termination letter and asked Ms. Guerrero to sign it. Ms.

    Guerrero did not sign the termination letter because it was written in English and she did not

    read English well.




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    34.    Mr. Peralta and Ms. Guerrero communicated to each other in Spanish.

    35.    Mr. Peralta did not translate the termination letter for Ms. Guerrero.

    36.    On that same day of March 6, 2017, Ms. Guerrero sought the help of Monica

    Alvarez, who worked in Human Resources for Jumbo Supermarket. Ms. Guerrero showed

    Monica Alvarez the termination letter that Mr. Peralta had given her.

    37.    Later that same day, Ms. Alvarez provided a second termination letter to Ms.

    Guerrero, giving her a copy in English and a copy in Spanish.

    38.    The contents of the first termination letter stated that Ms. Guerrero was being

    terminated for performance problems.

    39.    The contents of the second and final termination letter did not cite any performance

    problems. Instead, the letter stated that Ms. Guerrero was being terminated because Jumbo

    Supermarket no longer needed her services.

    40.    Throughout Ms. Guerrero’s employment at Jumbo Supermarket, she had no write-

    ups or memorandums regarding any poor work performance issues.

    41.    As a result of Defendant’s unlawful employment practices, Ms. Guerrero suffered

    damages.

                                   STATEMENT OF CLAIMS

    42.    Paragraphs 1 through 41 are incorporated by reference as if fully set forth herein.

    43.    Defendant has intentionally discriminated against Angela Araujo Guerrero by

    reducing her pay because of her age in violation of Section 4(a)(1) of the ADEA, 29 U.S.C.

    § 623(a)(1).

    44.    Defendant has intentionally discriminated against Angela Araujo Guerrero by




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    terminating her because of her age in violation of Section 4(a)(1) of the ADEA, 29 U.S.C.

    § 623(a)(1).

    45.    The unlawful employment practices complained of in paragraphs 1 through 41

    above were willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                     PRAYER FOR RELIEF

              WHEREFORE, the Commission respectfully requests that this Court:

    46.    Grant a permanent injunction enjoining the Defendant, its officers, parent(s),

    successors, assigns, agents, managers, employees and all persons in active concert or

    participation with it, from engaging in employment practices which discriminate against

    employees on the basis of age;

    47.    Order the Defendant to institute and carry out policies, practices, and programs

    which provide equal employment opportunities for individuals 40 years of age and older,

    and which eradicate the effects of its past and present unlawful employment practices;

    48.    Grant a judgment requiring Defendant to pay appropriate back wages in an amount

    to be determined at trial, an equal sum as liquidated damages and pre-judgement interest to

    Ms. Guerrero as a result of the acts complained of above;

    49.    Order Defendant to make whole Ms. Guerrero who was adversely affected by the

    unlawful practices described above, by providing the affirmative relief necessary to

    eradicate the effects of its unlawful practices including but not limited to, reinstatement for

    Ms. Guerrero;

    50.    Grant such other further relief as the Court deems necessary and proper in the

    public interest; and



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    51.   Award the Commission its costs in this action.

                                 JURY TRIAL DEMANDED

          The Commission requests a jury trial on all questions of fact raised by this

    Complaint.



    Dated: September 26, 2019.

                                                      Respectfully submitted,

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